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5
     DANNY TROXELL
6

7

8                                UNITED STATES DISTRICT COURT
9
                                EASTERN DISTRICT OF CALIFORNIA
10
                                                       Case No.: 2:19-cr-0107 KJM
11
     UNITED STATES OF AMERICA,
12
                   Plaintiff,                          STIPULATION AND [PROPOSED] ORDER
13                                                     TO CONTINUE STATUS AS TO
14   vs.                                               RESCHEDULING POST-TRIAL MOTION
                                                       AND SENTENCING HEARING
15   DANNY TROXELL,
16
                   Defendant.                          Court:     Hon. Kimberly J. Mueller
17                                                     Date:      February 18, 2025
                                                       Time:      10:00 a.m.
18

19

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23          This matter is presently set for a Status Hearing as to rescheduling of a Motion for

24   Judgment of Acquittal Pursuant to Rule 29(a) of the Federal Rules of Criminal Procedure (ECF
25   Document 2378; hereafter the “Acquittal Motion”) and potential selection of a Sentencing
26
     Hearing date. By this Stipulation, Defendant Danny Troxell requests to continue the Status
27   ORDER CONTINUING STATUS
     HEARING AS TO RESCHEDULING
28   POST-TRIAL MOTION AND
     SENTENCING HEARING
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1    Hearing as to Scheduling of the Acquittal Motion and the Sentencing Hearing to March 25,
2
     2025, at 10:00 a.m.
3
            Defendant Troxell, as represented in previous stipulations continuing this matter (ECF
4
     Entries 2425, 2437, and 2507), anticipates that supplemental discovery materials exclusive to
5

6    him, which are presently unavailable for release because they are the subject of an ongoing

7    investigation, may provide the basis for supplemental grounds in support of his Acquittal Motion
8
     and/or a potential New Trial Motion based on newly discovered evidence. New developments as
9
     to this ongoing investigation, which have been disclosed to defense counsel, provide a
10
     reasonable basis to believe that the supplemental discovery materials may soon be released.
11

12   Defendant therefore requires additional time to review and research the potential impact of any

13   supplemental discovery before proceeding on both the Acquittal Motion and setting the
14
     Sentencing Hearing. The government does not oppose the request.
15
            This request follows a guilty verdict following a jury trial so an exclusion of time
16
     pursuant to the Speedy Trial Act is not required. Assistant U.S. Attorney Jason Hitt has
17

18   authorized Todd D. Leras via email to sign this stipulation on his behalf.

19   DATED: February 11, 2025
                                                  By      /s/ Todd D. Leras for
20
                                                                 JASON HITT
21                                                               Assistant United States Attorney

22

23
     DATED: February 11, 2025                     By      /s/ Todd D. Leras
24                                                               TODD D. LERAS
                                                                 Attorney for Defendant
25                                                               DANNY TROXELL
26

27   ORDER CONTINUING STATUS
     HEARING AS TO RESCHEDULING
28   POST-TRIAL MOTION AND
     SENTENCING HEARING
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1                                               ORDER
2
            BASED ON THE STIPULATION BETWEEN THE PARTIES, the Status Hearing,
3
     currently set for February 18, 2025, as to rescheduling Defendant Troxell’s Motion for Judgment
4
     of Acquittal Pursuant to Rule 29(a) of the Federal Rules of Criminal Procedure (ECF Document
5

6    2378) and setting of a Sentencing Hearing is vacated. A Status Hearing as to potential

7    rescheduling of the post-trial motion and the Sentencing Hearing is continued to March 25, 2025,
8
     at 10:00 a.m.
9
            IT IS SO ORDERED.
10
     DATED:                   , 2025
11

12
                                       KIMBERLY J. MUELLER
13                                     SENIOR UNITED STATES DISTRICT JUDGE
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27   ORDER CONTINUING STATUS
     HEARING AS TO RESCHEDULING
28   POST-TRIAL MOTION AND
     SENTENCING HEARING
